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                    Exhibit 30
         to Declaration of Rachel Doughty
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 Authorization 10: FCD728503
 Contact Name: BLUETRITONBRANDS, INC.
 Expiration Date: 08/24/2023
 Use Code: 715, 753, 931 1 915, 914
                                                                                     FS-2100-4(VER.03/17)
                                                                                           0MB 0596-0082

                                   U.S. DEPARTMENT OF AGRICULTURE
                                            FORESTSERVICE

                                            SPECIALUSEPERMIT

                        Authority: ORGANIC ADMINISTRATION ACT June 4, 1897,
                                FEDERALLAND POLICY AND MGMT ACT,
                                    AS AMENDED October 21, 1976




 BlUETRrTON BRANDS, INC. of 900 LONG RIDGE ROAD BLDG#2 STAMFORD CT USA 06902, locally of
5772 JURUPA STREETONTARIO CA USA 91761 (hereinafter "the holder") is authorized to use or occupy
National Forest System lands in the SAN BERNARDINO NATIONAL FOREST,subject to the terms and
conditions of this special use permit (the permit).

This permit covers 4.51 acres or in the Sec. 30, T. 2 N., R. 3 w.,SAN BERNARDINO MERIDIAN,. Sec. 31, T.
2 N., R. 3 W., SANBERNARDINO MERIDIAN,SEl/4 SEl/4 Sec.1, T.1 N., R. 4 W., SANBERNARDINO
MERIDIAN,NEl/4 Sec.12, T. 1 N., R. 4 W., SANBERNARDINO MERIDIAN,Sec.6, T. l N., R. 3 W., SAN
BERNARDINOMERIDIAN,("the permit area"), as shown on the map attached as Appendix A. This and
any other appendices to this permit are hereby incorporated into this permit.

This permit issued for the purpose of:

Operating and maintaining a water collection ~ 'MS!J!ias     transmission system that consists of tunnels #2
                                                  1
and 3, horizontal wells 1,lA, 7, 7A, 78, 7C, B;~~12         and their associated vaults, connected through
4.5 miles of 4" pipeline. This permit also authorizes the operation and maintenance of four helicopter
landing areas, 5 stream gauge/ monitoring stations with telemetry for data transmission, and 5.7 miles
of accesstrail (4.5 miles of trail is along the pipeline). This permit also authorizes administrative access
along Forest Service road 1N24 and maintenance of said road commensurate with use. See terms and
conditions for exact permitted use. The CA State Water Board is currently engaged in an enforcement
hearing to determine the water rights related to the system.

Occupancy and use are subject to the resource protection measures, monitoring requirements, and
adaptive management approach adopted in the final decision document approving this use in 2018 for
Nestle Waters North America. The terms and conditions have been updated for this 5th year permit.




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 TERMS AND CONDITIONS

 I. GENERALTERMS

 A. AUTHORITY.This permit is issued pursuant to the Organic Administration Act June 4,.1897, FEDERAL
 LAND POLICYAND MGMT ACT,AS AMENDED October 21, 1976, and 36 CFRPart 251, Subpart B, as
 amended, and is subject to their provisions.

 B. AUTHORIZED OFFICER. The authorized officer is the Forest or Grassland Supervisor or a subordinate
 officer with delegated authority.

 C. TERM. This permit shall expire at midnight on 08/24/2023.

 D. CONTINUATION OF USE ANO OCCUPANCY. This permit is not renewable. Prior to expiration of this
 p·ermit, the holder may apply for a new permit for the use and occupancy authorized by this permit.
 Applicatfons for a new permit must be submitted at least 6 months prior to expiration of this permit.
 Issuanceof a new permit is at the sole discretion of the authorized officer. At a minimum, before issuing
 a new permit, the authorized officer shall ensure that (1) the use and occupancy to be authorized by the
new permit is consistent with the standards and guidelines in the applicable land management plan; (2)
the type of use and occupancy to be authorized by the new permit is the same as the type of use and
occupancy authori2ed by this permit; and (3) the holder is in compliance with all the terms of this
permit. The authorized officer may prescribe new terms and conditions when a new permit is issued.

 E. AMENDMENT. This permit may be amended in whole or in part by the Forest Service when, at the
discretion of the authorized officer, such action is deemed necessary or desirable to incorporate new
terms that may be required by law, regulation, directive, the applicable forest land and resource
management plan, or projects and activities implementing a land management plan pursuant to 36 CFR
Part 215.

F. COMPLIANCEWITH LAWS. REGUlATIONS.AND OTHER LEGALREQUIREMENTS.In exercising the
rights and privileges granted by this permit, the holder shall comply with all present and future federal
laws and regulations and all present and future state, county, and munidpal laws, regulations, and other
legal requirements that apply to the permit area, to the extent they do not conflict with federal law,
regulation, or policy, The Forest Service assumes no responsibility for enforcing laws, regulations, and
other legal requirements that fall under the jurisdiction of other governmental entities.

G. NON-EXCLUSIVE USE.The use or occupancy authorized by this permit is not exclusive. The Forest
Service reserves the right of access to the permit area, including a continuing right of physical entry to
the permit area for inspection, monitoring, or any other purpose consistent with any right or obligation
of the United States under any law or regulation. The Forest Service reserves the right to allow others to
use the permit area ih any way that is hot inconsistent with the holder's rights and privileges under this
permit, after consultation with all parties involved. Except for any restrictions that the holder and the
authorized officer agree are necessary to protect the installation and operation of authorized temporary
improvements, the lands and waters covered by this permit shall remain open to the public for all lawful
purposes.

H. ASSIGNABIUTV.this permit is not assignable or transferable.




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 I. TRANSFEROF TITLETO THE IMPROVEMENTS.

 1. Notification of Transfer. The holder shall notify the authorized officer when a transfer of title to all or
 part of the authorized improvements is planned.

2. Transfer of Title. Any transfer of title to the improvements covered by this permit shall result in
termination of the permit. The party who acquires title to the improvements must submit an application
for a permit. The Forest Service is not obligated to issue a new permit to the party who acquires title to
the improvements. The authorized officer shall determine that the applicant meets requirements under
applicable federal regulations.

J. CHANGEIN CONTROLOFTHE BUSINESSENTITY.

1. Notification of Change in Control. The holder shall notify the authorized officer when a change in
control of the business entity that holds this permit is contemplated.

(a). In the case of a corporation, control is an interest, beneficial or otherwise, of sufficient outstanding
voting securities or capital of the business so as to permit the exercise of managerial authority over the
actions and operations of the corporation or election of a majority of the board of directors of the
corporation.

(b). In the case of a partnership, limited partnership, joint venture, or lndfvidual entrepreneurship,
cohtrol is a beneficial owhership of or interest in the entity or its capital so as to permit the exercise of
managerial authority over the actions and operations of the entity.

(c). In other circumstances, control is any arrangement under which a third party has the ability to
exercise management authority over the actions or operations of the business.

2. Effect of Change in Control. Any change in control of the business entity as defined in paragraph 1 of
this clause shall result in termination of this permit. The party acquiring control must submit an
application for a special use permit. The Forest Service is not obHgated to issue a new permit to the
party who acquires control. The authorized officer shall determine whether the applicant meets the
requirements established by applicable federal regulations.

II, IMPROVEMENTS

A. LIMITATIONSON USE. Nothing in this permit gives or implies permission to build or maintain any
structure or facility orto conduct any activity, unless specifically authorized by this permit. Any use hot
specifically authorized by this permit must be proposed in accordance with 36 CFR251.54. Approval of
such a proposal through issuance of a new permit or permit amendment is at the sole discretion of the
authorized officer.

B. PLANS.All plans for development, layout, construction, reconstruction, or alteration of Improvements
in the permit area, as well as revisions to those plans must be prepared by a professional engineer,
architect, landscape architect, or other qualified professional based on federal employment standards
acceptable to the aL1thorizedofficer. These plans and plan revisions mL1sthavewritten approval from
the authorized officer before they are implemented. The authorized officer may require the holder to
furnish as-built plans, maps, or surveys upon completion of the work.



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 C. CONSTRUCTION. Any construction authorized by this permit shall commence by N/A and shall be
 completed by N/ A.

 Ill. OPERATIONS.

 A. PERIOD OF USE. Use or occupancy of the permit area shall be exercised at least 365 days each year.

 B. CONDITION OF OPERATIONS.The holder shall maintain the authorized Improvements and permit
 area to standards of repair, orderliness, neatness, sanitation, and safety acceptable to the authorized
 officer and consistent with other provisions of this permit. Standards are subject to periodic change by
 the authorized officer when deemed necessary to meet statutory, regulatory, or policy requirements or
to protect national forest resources. The holder shall comply with Inspection requirements deemed
appropriate by the authorized officer.

C. OPERATING PLAN.The holder shall prepare and annually revise by May 1'1 an operating plan. The
operating plan shall be prepared in consultation with the authorized officer or the authorized officer's
designated representative and shall cover all operations authorized by this permit The operating plan
shall outline steps the holder will take to protect public health and safety and the environment and shall
include sufficient detail and standards to enable the Forest Service to monitor the holder's operat'ions
for compliance with the terms and conditions of this permit. The operating plan shall be submJtted by
the holder and approved by the authorized officer or the authorized officer's designated representative
prior to commencement of operations and shall be attached to this permit as an appendix. The
authorized officer may require an annual meeting with the holder to discussthe terms and conditions of
the permit or operating plan, annual use reports, or other concerns either party may have.

D. MONITORING BV THE FORESTSERVICE.The Forest Service shall monitor the holder's operations and
reserves the right to inspect the permit area and transmission facilities at any time for compliance with
the terms of this permit. The holder shall comply with inspection requirements deemed appropriate by
the authorized officer. The holder's obligations under this permit are not contingent upon any duty of
the Forest Service to inspect the permit area or transmission facilities. A failure by the Forest Service or
other governmental officials to inspect is not a justification for noncompliance with any of the terms and
conditions of this permit.

IV. RIGHTS AND LIABILITIES

A. LEGALEFFECTOF THE PERMIT. This permit, which is revocable and terminable, is not a contract or a
lease, but rather a federal license. The benefits and requirements conferred by this authorization are
reviewable solely under the procedures set forth in 36 CFR214 and 5 U.S.C.704. This permit does hOt
constitute a contract for purposes of the Contract Disputes Act, 41 U.S.C.601. The permit is not real
property, does not convey any interest in real property, and may not be used as collateral for a loan.

8. VALID EXISTING RIGHTS.This permit is subject to all valid existing rights. Valid existing rights include
those derived under mining and mineral leasing laws of the United States. The United States is not liable
to the holder for the exercise of any such right.

C. ABSENCEOF THIRD-PARTY BENEFICIARYRIGHTS. The parties to this permit do not intend to confer
any rights on any third party as a beneficiary under this permit.




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 D. SERVICES    NOT PROVIDED.This permit does not provide for the furnishing of road or trail
 maintenance, water, fire protection, search and rescue, or a11yother such service by a government
 agency, utility, association, or individual.

E. RISKOF LOSS.The holder assumes all risk of loss associated with use or occupancy of the permit area,
including but not limited to theft, vandalism, fire and any fire-fighting activities (including prescribed
burns), avalanches, rising waters, winds, falling limbs or trees, and other forces of nature. If authorized
temporary improvements in the permit area are destroyed or substantially damaged, the authoriz.ed
officer shall conduct an analysis to determine whether the improvements can be safely occupied in the
future and whether rebuilding should be allowed. If rebuilding is not allowed. the permit shall
terminate.

 F. DAMAGETO UNITED STATESPROPERTY.
                                  The holder has an affirmative duty to protect from damage
the land, property, and other interests of the United States. Damage includes but is not limited to fire
suppression costs and damage to government-owned improvements covered by this permit.

1. The holder shall be liable for all injury, loss, or damage, including fire suppression, prevention and
control of the spread of invasive species, or other costs in connection with rehabilitation or restoration
of natural resources resulting from the use or occupancy authorized by this permit. Compensation shall
include but not be limited to the value of resources damaged or destroyed, the costs of restoration,
cleanup, or other mitigation, fire suppression or other types of abatement costs, and all administrative,
legal (including attorney's fees), and other costs. Such costs may be deducted from a performance bond
required under clause IV.J.

2. The holder shall be liable for damage caused by use of the holder or the holder's heirs, assigns,
agents, employees, contractors, or lessees to all roads and tra11sof the United States to the same extent
as provided under clause IV.F.1, except that liability shall not include reasonable and ordinary wear and
tear.

G. HEALTHANO SAFETY.The holder sh.alltake all measures necessary to protect the health and safety of
all persons affected by the use and occupancy authorized by this permit. The holder shall promptly
abate as completely as possible and in compliance with all applicable laws and regulations any physical
or mechanical procedure, activity, event, or condition existing or occurring in connection with the
authorized use and occupancy during the term of this permit that causes or threatens to cause a hazard
to the health or safety of the public or the holder's employees or agents. The holder shall as soon as
practicable notify the authorized officer of all serious accidents that occur in connection with these
procedures, activities, events, or conditions. The Forest Service has no duty under the terms of this
permit to inspect the .permit area or operations of the holder for haz.ardousconditions or compliance
with health and safety standards.

H. ENVIRONMENTALPROTECTION.

1. For purposes of clause IV.Hand section V, "hazardous material" shall mean (a) any hazardous
substance under section 101(14) of the Comprehensive Environmental Response, Compensation, and
Liability Act (CERCLA),42 U.S.C.9601(14); (b) any pollutant or contaminaht under section 101(33) of
CERCLA,42 U.S.C.9601(33); (c) any petroleum product or its derivative, includihg fuel oil, and waste oils;
and (d) any hazardous substance, extremely hazardous substance, toxic substance, hazardous waste,


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 ignitable, reactive or corrosive materials, poJlutant, contaminant, element, compound, mixture, solution
 or substance that may pose a present or potential hazard to human health or the environment under
 any applicable environmental laws.

 2. The holder shall avoid damaging or contaminating the environment, including but not limited to the
 soil, vegetation (such as trees, shrubs, and grass), surface water, and groundwater, during the holder's
 use and occupancy of the permit a.rea.Envlronmental damage includes but is not limited to all costs and
damages associated with or resulting from the release or threatened release of a hazardous material
occurring during or as a result of activities of the holder or the holder's heirs, assigns, agents,
employees, contractors, or lessees on, or related to, the lands, property, and other interests covered by
this permit. If the environment or any government property covered by this permit becomes damaged
in connection with the holder's use and occupancy, the holder shall as soon as practicable repair the
damage or replace the damaged items to the satisfaction of the authorized officer and at no expense to
the United States.

3. The holder shall as soon as practicable, as completely as possible, and in compliance with all
applicable laws and regulations abate any physical or mechanical procedure, activity, event, or condition
existing or occurring in connection with the authorized use and occupancy during or after the term of
this permit that causes or threatens to cause harrn to the environment, including areas of vegetation or
timber, fish or other wildlife populatiolis, their habitats, or any other natural. resources.

I. INDEMNIFICATIONOFTHE UNITEDSTATES.           The holder shall indemnify, defend, and hold harmless
the United States for any costs, damages, claims, liabilities, and judgments arising from past, present,
and future acts or omissions of the holder in connection with the use or occupancy authorized by this
permit_ This indemnification provision includes but is not limited to acts and omissions of the holder or
the holder's heirs, assigns, agents, employees, contractors, or lessees in connection with the use or
occupancy authorized by this permit which result in (1) violations of any laws and regulations which are
now or which may in the future become applicable; (2) judgments, claims, demands, penalties, or fees
assessedagainst the United States; (3) costs, expenses, and damages incurred by the United States; or
(4) the release or threatened release of any solid waste, ha2ardous waste, hazardous materials,
pollutant, contaminant, oil in any form, or petroleum product into the environment. The authorized
officer may prescribe terms that allow the holder to replace, repair, restore, or otherwise undertake
necessary curative acttons to mitigate damages in addition to or as an alternative to monetary
indemnification.

J. BONDING.The authorized officer may require the holder to furnish a surety bond or other securlty for
any of the obligations imposed by the terms and conditions of this permit or any applicable law,
regulation, or order.




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 V. RESOURCEPROTECTION

A. COMPLIANCEWITH ENVIRONMENTALLAWS.The holder shall in connection with the use or
occupancy authorized by this permit comply with all applicable federal, state, and local environmental
laws and regulations, including but not limited to those established pursuant to the Resource
Conservation and Recovery Act, as amended, 42 U.S.C.6901 et seq., the Federal Water Pollution Control
Act, as amended, 33 U.S.C.1251 et seq., the Oil Pollution Act, as amended, 33 U.S.C.2701 et seq., the
Clean Air Act, as amended, 42 U.S.C.7401 et seq., CERCLA,as amended, 42 U.S.C.9601 et seq., the Toxic
Substances Control Act, as amended, 15 U.S.C.2601 et seq., the Federal Insecticide, Fungicide, and
Rodenticide Act, as amended, 7 U.S.C.136 et seq., and the Safe Drinking Water Act, as amended, 42
 U.S.C.300f et seq.

B. VANDALISM. The holder shall take reasonable measures to prevent and discourage vandaltsm and
disorderly conduct and when necessary shall contact the appropriate law enforcement officer.

C. PESTICIDEUSE.

 1, Authorized Officer Concurrence. Pesticides may not be used outside of buildings in the permit area to
control pests, including undesirable woody and herbaceous vegetation (including aquatic plants),
insects, birds, rodents, or fish without prior written concurrence of the authorized officer. Only those
products registered or otherwise authorized by the U.S. Environmental Protection Agency and
appropriate State authority for the specific purpose planned shall be authorized for use within areas on
National Forest System lands.

2. Pesticide-Use Proposal. Requests for concurrence of any planned uses of pesticides shall be provided
in advance using the Pesticide-Use Proposal (form FS-2100-2).Annually the holder shall, on the due date
established by the authorized officer, submit requests for any new, or continued, pesticide usage. The
Pesticide-Use Proposal shall cover a 12-month period of planned use. The Pesticide-Use Proposal shall
be submitted at least 60 days in advance of pesticide application. Information essential for review shall
be provided in the form specified. Exceptions to this schedule may be allowed, subject to emergency
request and approval, only when unexpected outbreaks of pests require control measures which were
not anticipated at the time a Pesticide-Use Proposal was submitted.

3. labeling, Laws, and Regulations. Label instructions and all applicable laws and regulations shall be
strictly followed in the application of pesticides and disposal of excess materials and containers. No
pesticide waste, excess materials, or containers shall be disposed of in any area administered by the
Forest Service.

0. ARCHAEOLOGICAL-PALEONTOLOGICAL              DISCOVERIES.     The holder shall immediately notify the
authorized officer of all antiquities or other objects of historic or scientific interest, including but not
limited to historic or prehistoric ruins, fossils, or artifacts discovered in connection with the use and
occupancy authorized by this permit. The holder shall follow the applicable inadvertent discovery
protocols for the undertaking provided in an agreement executed pursuant to section 106 of the
National Historic Prese.rvation Act, 54 U.S,C,306108; if there are no such agreed-upon protocols, the
holder shall leave these discoveries intact and in place until consultation has occurred, as informed, if
applicable, by any programmatic agreement with tribes. Protective and mitigation measures developed
under this clause shalt be the responsibility of the holder. However, the holder shall give the authorized


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 officer written notice before implementing these measures and shall coordinate with the authorized
 officer for proximate and contextual discoveries extending beyond the permit area.

E. N'ATIVEAMERICANGRAVESPROTECTION              AND REPATRIATION     ACT(NAGPRA).In accordance with 25
U.S.C.3002(d) and 43 CFR10.4, if the holder inadvertently discovers human remains, funerary objects,
sacred objects, or objects of cultural patrimony on National Forest System lands, the holder shall
immediately cease work in the area of the discovery and shall make a reasonable effort to protect and
secure the items. The holder shall follow the applicable NAGPRAprotocols for the undertaking provided
in the NAGPRAplan of action or the NAGPRAcomprehensive agreement; if there are no such agreed~
upon protocols, the holder shall as soon as practicable notify the authorized officer of the discovery and
shall follow up with written confirmation of the discovery. The activity that resulted in the inadvertent
discovery may not resume until 30 days after the forest archaeologist certifies receipt of the written
confirmation, if resumption of the activity is otherwise lawful, or at any time if a binding written
agreement has been executed between the Forest Service and the affiliated Indian tribes that adopts a
recovery plan for the human remains and objects.

 F. PROTECTION
             OFTHREATENED
                        AND ENDANGERED      SENSITIVE
                                     SPECIES.              AND SPECIES
                                                    SPECIES.         OF
 CONSERVATION
            CONCERNAND THEIRHABITAT.

1. Threatened and Endangered Species and Their Habitat. The location of sites within the permit area
needing special measures for protection of plants or animals listed as threatened or endangered under
the Endangered Species Act (ESA) of 1973, 16 U.S.C. 1531 et seq., as amended, or within designated
critical habitat shall be shown on a map in an appendix to this permit and may be shown on the ground.
The holder shall take any protective and mitigation measures specified by the authorized officer as
necessary and appropriate to avoid or reduce effects on listed species or designated critical habitat
affected by the authorized use and occupancy. Discovery by the holder or the Forest Service of other
sites within the permit area containing threatened or endangered species or designated critical habitat
not shown on the map in the appendix shall be promptly reported to the other party and shall be added
to the map.

2. Sensitive Species and Species of Conservation Concern and Their Habitat. The location of sites within
the permit area needing special measures for protection of plants or animals designated by the Regional
Forester as sensitive species or as species of conservation concern pursuant to FSM 2670 shall be shown
on a map in an appendix to this permit and may be shown on the ground. The holder shall take any
protective and mitigation measures specified by the authorized officer as necessary and appropriate to
avoid or reduce effects on sensitive species or species of conservation concern or their habitat affected
by the authorized use and occupancy. Discovery by the holder or the Forest Service of other sites within
the permit area containing sensitive species or species of conservation concern or their habitat not
shown on the map in the appendix shall be promptly reported to the other party and shall be ac:ldedto
the map.

G. SURVEYAND MANAGESPECIES           AND THEIRHABITAT.The survey and manage standards and
guidelines were established in the 1994 Northwest Forest Plan amendments to all Forest Service land
management plans in western Oregon and Washrngton and northern California, as amended by the
January 2001 Record of Decision (2001 ROD).The list of survey and manage species fn the 2001 ROD, for
which the standards and guidelines apply, has been amended and (s subject to periodic amendment by
the Forest Service. The holder shall take any protective and mitigation measures specified by the



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 authorized officer as necessary and appropriate to avoid or reduce effects on survey and manage
 species or their habitat affected by the authorized use and occupancy. The location of sites within the
 area occupied by survey and manage species or their habitat shall be shown on a map in an appendix to
 this permit and may be shown on the ground. Discovery by the holder or the Forest Service of other
 sites within the permit area containing survey and manage species or their habitat not shown on the
 map in the appendix shall be promptly reported to the other party and shall be added to the map.

 H. CONSENTTO STOREHAZARDOUSMATERIALS.The holder shall not store any hazardous materials at
 the site without prior written approval from the authorized officer. This approval shall not be
 unreasonably withheld. If the authori2ed officer provides approval, this permit shall include, or in the
 case of approval provided after this pertnit is issued, shall be amended to include specific terms
 addressingthe storage of hazardous materials, including the specific type of materials to be stored, the
 volume, the type of storage, and a spill plan. Such terms shall be proposed by the holder and are subject
 to approval by the authorized officer.

 1. If the holder receives consent to store hazardous material 1 the holder shall identify to the Forest
 Service any hazardous material to be stored at the site. This identifying information shall be consistent
 with column (1) of the table of hazardous materials and special provisions enumerated at 49 CFR
 172.101 whenever the hazardous material appears in that table. For hazard communication purposes,
 the holder shall maintain Material Safety Data Sheets for any stored hazardous chemicals, consistent
 with 29 CFR1910.1200(c) and (g). In addition, all hazardous materials stored by the holder shall be used,
 labeled, stored, transported, and disposed of in accordance with all applicable federal, state, and local
 laws and regulations.

 2. The holder shall not release any hazardous material as defined in clause IV.H onto land or into rivers,
 streams, impoundments, or natural or man-made channels leading to them. All prudent and safe
 attempts must be made to contain any release of these materials. The authorized officer in charge may
 specify specific conditions that must be met, including conditions more stringent than federal, state, and
 local regulations, to prevent releases and protect natural resources.

 3. Jfthe holder uses or stores hazardous materials at the site, upon revocation or termination of this
 permit the holder shall provide the Forest Service with a report certified by a professional or
 professionals acceptable to the Forest Service that the permit area is uncontaminated by the presence
 of hazardous materials and that there has not been a release or discharge of hazardous materials upon
 the permit area, into surface water at or near the permit area, or into groundwater below the permit
 area during the term of the permit. If a release or discharge has occurred, the professional or
 professionals shall document and certify that the release or discharge has been fully remediated and
 that the permit area is in compliance with all applicable federal, state, and local laws and regulations.

 I. CLEANUP AND REMEDIATION.

 l. The holder shall immediately notify all appropriate response authorities, including the National
 Response Center and the authorized officer or the authorized officer's designated representative, of any
 oil discharge or of the release of a hazardous material in the permit area in an amount greater than or
 equal torts reportable quantity, in accordance with 33 CFRPart 153, Subpart B, and 40 CFRPart 302. For
 the purposes of this requirement, "oil" is as defined by section 311(a)(l) of the Clean Water Act, 33
 U.S.C.1321(a)(1). The holder shall immediately notify the authorized officer or the authorized officer's




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 designated representative of any release or threatened release of any hazardous material in or near the
 permit area which may be harmful to public health or welfare or which may adversely affect natural
 resources on federal lands.

 2. Except with respect to any federally permitted release as that term is defined under Section 101(10)
 of CERCLA,42 U.S.C. 9601(10), the holder shall clean up or otherwise remediate any release, threat of
 release, or discharge of hazardous materials that occurs either in the permit area or in connection with
 the holder's activities in the permit area, regardless of whether those activities are authorized under this
 permit. The holder shall perform cleanup or remediation immediately upon discovery of the release,
 threat of release, or discharge of hazardous materials. The holder shall perform the cleanup or
 remediation to the satisfaction of the authorized officer and at no expense to the United States. Upon
 revocation or termination of this permit, the holder shall deliver the site to the Forest Service free and
 clear of contamination.

 VI. LAND USE FEE AND DEBT COLLECTION.

 A. LANDUSEFEES.The holder shall pay an initial annual land use fee of $2102.lS for the period from
 01/01/2023 to 08/24/2023. The annual land use fee shall be adjusted annually using the implicit price
 deflater gross national product (IPD-GNP)index as shown in the Linear Right Of Way (LROW)fee
 schedule.

 8. MODIFICATION OF THE LAND USE FEE. The land use fee may be revised whenever necessary to
 reflect the market value of the authorized use or occupancy or when the fee system used to calcul~te
 the land use fee is modified or replaced.

 C. FEEPAVMEN-TISSUES.

 1. Crediting of Payment~. Payments shall be credited on the date received by the deposit facility, except
 that if a payment is received on a non-workday, the payment shall not be credited until the next
 workday.

 2. Disputed Fees. Fees are due and payable by the due date. Disputed fees must be paid in full.
 Adjustments will be made if dictated by an administrative appeal decision 1 a court decision, or
 settlement terms.

 3. Late Payments

 (a) Interest. Pursuant to 31 U.S.C.3717 et seq., interest shall be charged on any fee amount not paid
 within 30 days from the date it became due. The rate of interest assessedshall be the higher of the
 Prompt Payment Act rate or the rate of the current value of funds to the United States Treasury (i.e., the
 Treasury tax and loan account rate), as prescribed and published annually or quarterly by the Secretary
 of the Treasury in the Federal Register and the Treasury Fiscal Requirements Manual Bulletins. Interest
 on the principal shall accrue from the date the fee amount is due.

 (b) Administrative Costs. If the account becomes delinquent, administrative costs to cover processing
 and handling the delinquency shall be assessed.




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 (c) Penalties. A penalty of 6% per annum shall be assessedon the total amount that is more than 90
 days delinquent and shall accrue from the same date on which interest chargesbegin to accrue.

 (d) Termination for Nonpayment. This permit shall terminate without the necessity of prior notice and
 opportunity to comply when any permit fee payment is 90 calendar days from the due date in arrears.
 The holder shall remain responsible for the delinquent fees.

 4. Administrative Offset and Credit Reporting. Delinquent fees and other chargesassociated with the
 permit shall be subject to all rights and remedies afforded the United States pursuant to 31 U.S.C.3711
 et seq. and common law. Delinquencies are subject to any or all of the following:

 (a) Administrative offset of payments due the holder from the Forest Service.

 (b) If in excessof 60 days, referral to the United States Department of the Treasury for appropriate
 collection action as provided by 31 U.S.C.371l(g)(1).

 (c) Offset by the Secretary of the Treasury of any amount due the holder, as provided by 31 U.S.C.3720
 et seq.

 (d) Disclosure to consumer or commercial credit reporting agencies.

 VII. REVOCATION, SUSPENSION, AND TERMINATION

 A. REVOCATIONAND SUSPENSION.The authorized officer may revoke or suspend this permit in whole
 or in part:

 1. For noncompliance with federal, state, or local law.

 2. For noncompliance with the terms of this permit.

 3. For abandonment or other failure of the holder to exercise the privileges granted.

 4. With the consent of the holder.

 5. Forspecific and compelling reasons in the public interest.

 Prior to revocation or suspension, other than immediate suspension under clauseVII.B, the authorized
 officer shall give the holder written notice of the grounds for revocation or suspensionand a reasonable
 period, typically not to exceed 90 days, to cure any noncompliance.

 B. IMMEDIATESUSPENSION.        The authorized officer may immediately suspend this permit in whole or in
 part when necessaryto protect public health or safety or the environment. The suspension decision
 shall be in writing. The holder may request an on-site review with the authorized officer's supervisor of
 the adverse conditions prompting the suspension, The authorized officer's supervisor shall grant this
 request within 48 hours. Following the on-site review, the authorized officer's supervisor shall promptly
 affirm, modify, or cancel the suspension.

 C.APPEALS   AND REMEDIES.    Written decisions by the authorized officer relating to administration of
 this permit are subject to administrative appeal pursuant to 36 CFR Part 214, as amended. Revocation or
 suspension of this permit shall not give rise to any claim for damages by the holder against the Forest
 Service.


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 D. TERMINATION.This permit shall terminate when by its terms a fixed or agreed upon condition,
 event, or time occurs without any action by the authorized officer. Examples include but are not limited
 to expiration of the permit by its terms on a specified date and termination upon change of control of
 the business entity. Termination of this permit shall not require notice, a decision document, or any
 environmental analysis or other documentation. Termination of this permit is not subject to
 administrative appeal and shall not give rise to any claim for damages by the holder against the Forest
 Service.

 E. RIGHTSAND RESPONSIBILITIES        UPON REVOCATION       OR TERMINATIONWITHOUTISSUANCE           OFA
 NEW PERMIT. Upon revocatfon or termination of this permit without issuance of a new permit, the
 holder shall remove all structures and improvements, except those owned by the United States, within a
 reasonable period prescribed by the authorized officer and shall restore the site to the satisfaction of
 the authorized officer. If the holder fails to remove all structures and improvements within the
 prescribed period, they shall become the property of the United States and may be sold, destroyed, or
 otherwise disposed of without any liability to the United States. However, the holder shall remain liable
 for all costs associated with their removal, including costs of sale and impoundment, cleanup, and
 restoration of the site.

 VIII. MISCELLANEOUS
                   PROVISIONS

 A. MEMBERSOF CONGRESS.No member of or delegate to Congress or resident commissioner shall
 benefit from this permit either directly or indirectly, except to the extent the authorized use provides a
 general benefit to a corporation.

 B. CURRENTADDRESSES.      The holder and the Forest Service shall keep each other informed of current
 mailing addresses, including those necessary for billing and payment of land use fees.

 C. SUPERSEDED
             PERMIT.This permit supersedes special use permits designated FCD728501and
 FCD728502.

 D. SUPERIORCLAUSES.      If there is a conflict between any of the preceding printed clauses and any of the
 following clauses, the preceding printed clauses shall control.

 E. NOXIOUSWEEDS{RS-09).The permit holder shall prepare, in cooperation with the Forest Service, a
 noxious weed plan for surveying, preventing, reporting, controlling and monitoring noxious weed
 populations on the authorized areas and within the holder's area of responsibility. These measures may
 include, where appropriate, equipment inspection for soil, seeds, and vegetative matter, equipment
 cleaning, and use of weed-free materials (soil, gravel, straw, mulch) and seed mixes. A current list of
 noxious weeds of concern is available at the Forest Supervisor's Office.

 F. GROUNDSURFACE
                PROTECTION
                         AND RESTORATION
                                       (D-9).

 The holder shall prevent and control soil erosion and gullying on National Forest System lands in and
 adjacent to the permit area resulting from construction, operation, maintenance, and termination of the
 authorized use. The holder shall construct authorized improvements so as to avoid accumulation of
 excessive amounts of water in the permit area and encroachment on streams. The holder shall
 revegetate or otherwise stabilize (for example, by constructing a retaining wall) all ground where the soil




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 has been exposed as a result of the holder's construction 1 maintenance, operation, or termination of the
 authorized use.

 G. WATERWELLSANO ASSOCIATED
                           PIPELINES
                                   (0-231.

 1. State and Local Documentation for Water Wells. The holder shall obtain all required State and local
 water permits, licenses, registrations, certificates, and rights for existing and proposed water wells and
 shall provide a copy of this documentation to the Authorized Officer. For proposed water well
 construction, development, or redevelopment, this documentation shall be provided prior to
 commencement of work.

 2. Water Well Construction and Development. For water well construction and development (or
 redevelopment), the holder shall prepare a well construction and development plan and submit it to the
 Authorized Officer for approval. The well construction and development plan must have written
 approval from the Authorized Officer before well construction or development commences. The holder
 shall follow applicable Federal, State, and local standards for design, construction, and development of
 new wells or redevelopment of existing wells. If these standards do not exist, the holder shall follow
 applicable standards issued by the American Society for Testing and Materials (ASTM), American Water
 Works Association {AWWA), or National Ground Water Association (NGWA). The construction and
 development plan must identify all potential sources for any proposed water injection during well
 construction and development. Only non-chlorinated, potable water ,nay be injected during
 construction and development of wells that will be used for monitoring or water withdrawal. Copies of
 all documentation for drilling, constructing, or developing wells, including all drilling, boring, and well
 construction or development logs, shall be provided to the Authorized Officer within 60 days of
 completion of work.

 3. Water Conservation Plan. For new or redeveloped wells, as part of a well development plan, the
 holder shall prepare and submit for written approval by the Authorized Officer a water conservation
 plan utilizing appropriate strategies to limit the amount of water removed from National Forest System
 lands.

 4. Water Well Decommissioning. The holder shall properly decommission and abandon all water wells
 that are no longer needed or maintained in accordance with applicable Federal, State, and local
 standards for water well abandonment. If these standards do not exist, the holder shall follow
 applicable standards issued by the ASTM, AWWA, or NGWA. At least 30 days prior to initiation of well
 decommissioning, the holder shall submit a well decommissioning plan to the Authorized Officer. The
 well decommissioning plan must have written approval from the Authorized Officer before well
 decommissioning commences. All documentation of well decommissioning shall be provided to the
 Authorized Officer within 60 days of completion of the work.

 H. WATERFACILITIES
                  AND WATERRIGHTS(D-24).

 1. Water Facilities. No ditch, reservoir, well, spring, seepage, or other facility to pump, divert, store, or
 convey water (hereinafter "water facilities'') for which the point of diversion, storage, or withdrawal is
 on National Forest System lands may be initiated, developed, certified, or adjudicated by the holder
 unless expressly Authorized in this permit. The authorization of any water facilities in the permit area is
 granted to allow use of water only in connection with the use Authorized by this permit. If the use of any




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 water facilities in connection with this use ceases, the authorization to use any associated water
 facilities also ceases. The United States may place conditions on installation, operation, maintenance,
 and removal of water facilities that are necessary to protect public property, public safety, and natural
 resources on National Forest System lands in compliance with applicable law. Any change in a water
 facility, including a change In the ownership or beneficial use of water or location of use of water from a
 water facility, that is not expressly Authorized in this permit shall result in termination of the
 authorization for that water facility.
                                                                                                             1
 2. Water Rights. This permit does not confer any water rights on the. holder. The term "water rights'
 includes all authorizations, such as certificates, reservations, decrees, or permits, for water use issued
 under state, local, or other law and all water rights otherwise recognized under state law. Any necessary
 water rights must be acquired and maintained by the holder in accordance with State law and the terms
 of this permit. After this permit is issued, all water rights·obtained by the holder for facilities that divert
 or pump water from sources located on National Forest System lands for use on National Forest System
 lands, whether Authorized or unAuthorized, are for the benefit of the United States and shall be
 acquired in the name of the United States. Any expenses for acquiring water rights shall be the
 responsibility of the holder and notthe responsibility of the United States.

 3. Water Rights Acquired in the Name of the Holder

 The permitee is currently awaiting determination from the California State Water Board on Water Rights

 a. Identification of Water Rights. The holder has obtained the following water rights for use under this
 permit in the holder's name:

 State ID It: --'-N'-'-/A--'------------

 Owner: _--'Nc.:.A:..:.....
                 ____________                          _

 Purpose of Use: -----'N"-'/A
                      __________               _

 Decree, License, or Certificate: --"-"N....,/A_,__
                                           ____        _

                      N"-'/A
 Point of Diversion: ___ __________                _

 b. Termination or Revocation for Reasons Other Than Nonuse. Upon termination or revocation of this
 permit. other than revocation for nonuse, the holder shall transfer the water rights enumerated in
 clause 3a to any succeeding permit holder, for use only in connection with the Authori:ted by this
 permit, provided that if that use is not reAuthorized, the holder shall promptly petition in accordance
 with State law to remov.e from National Forest System lands the point of diversion and water use
 associated with the water rights enumerated in clause 3a or shall transfer these water rights to the
 United States.

 c. Revocation for Nonuse. Upon revocation of this permit for nonuse, the holder shall transfer any of the
 water rights enumerated in clause 3a that remain ih the name of the holder at the time of revocation to
 the United States to hold for the benefit of any succeeding permit holder for use only ih connection with
 that, provided that if that use is not re.Authorized and the holder has not petitioned to remove those
 water rights per clause 3.b, the holder shall transfer the water rights to the United States.



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 d. Documentation of Transfer. The holder and the holder's assigns shall execute and properly file any
 document necessary to transfer ownership of the water rights enumerated in clause 3.a to a succeeding
 permit holder or the United States. By executing this permit, the holder hereby grants limited power of
 attorney to the Authorized Officer to execute any document on behalf of the holder as may be
 necessary to transfer the water rights enumerated in clause 3.a to a succeeding permit holder or the
 United States.

 Holder's initials and date: __   N/A____          _

 e. Waiver. The holder waives any claims against the United States for compensation for any water rights
 that are transferred, removed, or relinquished as a result of revocation, including revocation for nonuse,
 or termination of this permit, or for compensation in connection with Imposition of any conditions on
 installation, operation, maintenance, and removal of water facilities associated with water rights
 enumerated in clause 3a.

 I. WATER FACILITIESAND WATER RIGHTS (0-2S).

 This permit does not confer any water rights on the holder. Any necessary water rights must be acquired
 by the holder in accordance with State law. Any expenses for acquiring water rights shall be the
 responsibility of the holder. The United States reserves the right to place any conditions on installation,
 operation, maintenance, and removal of facilities to pump, divert, store, or convey water on National
 Forest System lands covered by thfs permit that are necessary to protect public property, public safety,
 and natural resources on National Forest System lands in compliance with applicable law, The holder
 waives any claims against the United States for compensation in connection with imposition of any
 conditions on installation, operation, maintenance, and removal of water facilities under this permit.

 J. FIR£ CONTROLPLAN (~20).

 The holder shall prepare a fire plan for approval by the Authorized Officer which shall set forth in detail
 the plan for prevention, reporting, control, and extinguishing of fires on the authorized areas and within
 the holder's area of responsibility defined on an attached map. Such plans shall be reviewed and
 revised at intervals of not more than three (3) years.

 K.SIGNS(X-29).

 Signs or advertising devices erected on National Forest System lands shall have prior approval by the
 Forest Service as to location, design, size, color, and message. Erected signs shall be maintained or
 renewed as necessary to neat and presentable standards, as determined by the Forest Service.

 L. IMPROVEMENT RELOCATION(X~33}.

 This authorization is granted with the express understanding that should future location of United States
 Government-owned improvements or road rights-of-way require the relocation of the holder's
 improvements, such relocation will be done by, and at the expense of, the holder within a reasonable
 time as specified by the Authorized Officer.

 L. ROAD MAINTENANCE (From FS-7700-41).

 When maintenance is performed, it shall.be conducted in accordance with the following requirements
 and the requirements in the attached appendices.




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 1. The holder shall perform maintenance on the roads authorized by this permit that is necessary to
 protect and repair the roadbed, road surface, and associated transportation facilities.

 2. If other commercial users are operating on the roads authorized by this permit, the holder and those
 commercial users shall enter into an agreement for performance of maintenance on these roads. If
 conflicts arise regarding responsibility for the maintenance, commercial use on these roads shall cease
 until the conflicts are resolved.




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 THISPERMITISACCEPTED
                    SUBJECT
                          TOALLITSTERMSAND CONDITIONS.

 BEFOREANY PERMIT IS ISSUEDTO AN ENTITY, DOCUMENTATION MUST BE PROVIDED TO THE
 AUTHORIZEDOFFICEROF THE AUTHORITY OF THE SIGNATORYFORTHE ENTITY TO BIND IT TO THE
 TERMS AND CONDITIONS OF THE PERMIT.




                                                                                          tJl'Z J
                  URCEMANAGER,BLUETRITON
                                       BRANDS,INC.

 APPROVED:



 JOSEPHRECH
 DITRICTRANG



 Attach annual operating plan and any master development plan, maps, and other appendices.

 For the limited power of attorney, section VIII.E.3:

 State of California, County of SaYl    B~rVl41fd1 ao                        I
                                                               On O2] I 6 20:Z 3                   before me,
    RIi\m,ve t 1 N c+a ..-j Pvblic.
 IJf,                                               (insert name and title of the officer) personally appeared

  UlVYj I.a wvenl.~ --------------                                                , who proved to me on the
 basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within

 instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized

 capacity(ies), and that by his/her/their   signature(s) on the instrument the person(s), or the entity upon

 behalf of which the persor.1(s)acted, executed the instrument. I certify under PENALTY
                                                                                      OFPERJURY
 under the laws of the State of California that the foregoing paragraph is true and correct. WITNESSmy

 hand and official seal.


 Signature/V/     ~                                        (Seal)                SEEA IT ACHED
          /
 Notary Public for the State of California
                                                                           NOTORJZED DOCUMENT



 My commission expires ID/ 03 J-zo-z.(;,




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  SEE ATTACHED                                 ID #:1461
NOTORJZEDDOCUMENT




                                         ACKNOWLEDGMENT


         A notary public or other officer completingthis
         certificateverifies only the identityof the individual
         who signed the documentto which this certificate is
         attached,and not the truthfulness,accuracy, or
         validitv of that document.
       State of California
       county of           San Bernardino


       On    02 / 16    I '2 o z 3          before me,             Y. Ramirez, Notary Public
                                                         -------------------
                                                             (insert name and title ·ofthe officer}

       personallyappeared    L,wY' ~      Lull\} v-elal.e
       who proved to me on the basi of satisfactory evidence to be the person(s) whose name(s} is/are
       subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
       his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
       person(s ), or the entity upon behalf of which the person(s) acted, executed the instrument.

       I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
       paragraph is true and correct.


      WITNESSmy hand and official seal.



      Signature:j;?~.                                        (Seal)




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 According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person
 is not required to respond to a collection of information unless it displays a valid 0MB control number.
 The valid 0MB control number for this information collection is 0596-0082. The time required to
 complete this information collection is estimated to average one hour per response, including the time
 for reviewing instructions, searching existing data sources, gathering and maintaining the data needed,
 and completing and reviewing the collection of information.

 The U.S. Department of Agriculture (USDA) prohibits discrimination in all its programs and activities on
 the basis of race. color, national origin, age, disability, and, where applicable, sex, marital status, familial
 status, parental status, religion, sexual orientation, genetic information, political beliefs, reprisal, or
 because all or part of an individual's .income is derived from any public assistance. (Not all prohibited
 bases apply to all programs.) Persons with disabilities who require alternative means for communication
 of program information (Braille, large print, audiotape, etc.) should contact USDA'sTARGETCenter at
 202-720-2600 (voice and TDD}.

 To file a complaint of discrimination, write USDA,Director, Office of Civil Rights, 1400 Independence
 Avehue, SW, Washington, DC 20250-9410 or call toll free (866) 632-9992 (voice). TDD users can contact
 USDAthrough local relay or the Federal relay at (800) 877-8339 (TDD) or (866) 377-8642 (relay voice).
 USDAis an equal opportunity provider and employer.

 The Privacy Act of 1974 (5 U.S.C.552a) and the Freedom of Information Act(S U.S.C.552) govern the
 confidentiality to be provided for information received by the Forest Service.




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                                        San Bernardino National Forest
                                      Appendix A - Terms and Conditions
                                             BlueTriton Brands, Inc.
                                    Permit for Operating and Maintaining a
                                   Water Collection and Transmission System
                                               (931, 753,715,915,914)

                                             Terms and Conditionsincluded:
                                                                                                       (rev. 01-2022)

 Section       101      MONITORING
 Section       102      REPORTING REQUIREMENTS
 Section       103      NOTIFICATIONS TO USFS
 Section       104      REGULATORY REQUIREMENTS
 Section       105     ADAPTIVE MANAGEMENT PLAN



 101 MONITORING

     1. Strawberry Creel<(FL-1, FL-2, FL-4, FL-5, TR-BF-XS-6, 18, 28, 43, 49), including the confluence,
           shall be monitored monthly for surface Oowand temperature.
               a. Monitoring results shall be reported to the permit administrator by the final business day of
                    the month.
    2.     Equivalent locations in East Twin Creek (TL 1, 2, 3, 4) and West Fork City Creek (CL1, 2, 3, 4, 5) shall
           be monitored monthly for surface flow and water temperature.
               a. Results shall be reported to the permit administrator by the final business day of the month.
               b. Monitoring should begin immediatefy following the signing of the permit.
               c. Coordinates and maps of monitoring sites shall be provided with monthly monitoring data.

 102 REPORTINGREQUIREMENTS

     1. By the final business day of the month following monthly required hydrologic monitoring, all raw
           hydrologic data collected (e.g., pictures, copies of field notebooks. values, maps. extraction rates,
           volumes per location, coordinates for extraction location, etc.) shall be provided to the permit
           administrator electronically.
                a. Monitoring data should also be provided to permit administrator in a Microsoft Excel format.
                b. For months when no flow data is collected, the permit administrator should be notified by the
                    final business day of the month.
    2.     The permlttee shall provide a trend analysis of the data collected (e.g., hydrographs,
           evapotranspiration, precipitation, vegetative health, extraction rates and volumes, etc,) on a quarterly
           schedule based on the calendar year. This report shall include graphs (e.g., percent loss ratio of
           stream over time, confluence flow rate over time) and a short narrative that incorporates previously
           collected data and builds a long-term record.
    3.     The permittee shall provide descriptive and quantitative reporting based on daily measurements and
           management actions, including changes to extraction.
    4.     The Groundwater-SurfaceWater Modeling report following the ASTM D5718-13 standard1 shall be
           provided to the permit administrator within 60 days following completion of the model run.
                a. Comments from USFS staff shall be addressed in a comment matrix and delivered to the
                    permit administrator no later than 60 days following the date of receipt of USFS comments.


1ASTM D5718-13, Standard Guide for Documenting a Groundwater Flow Model Application, ASTM International, West
Conshohocken,
            PA,2013.




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 BlueTriton Brands, Inc. (Permittee)


       5.   Additional model simulations may be requested by USFS staff and documentation of these
            simulations per ASTM D5718-13 will be delivered to the permit administrator within 60 days of
            completion of the model run.
       6.  Raw macroinvertebrate data shall be delivered no later than 120 days after each monitoring event.
                a. In the documentation of the BMI (Benthic Macro.Invertebrate) data collection, the
                    percentage of reaches that are pools, riffles, and runs, and the percentage of each group
                    that does not have surface flow shall be measured and reported.
       7. The Annual Paired Basin Study report shall be provided electronically by March 1, 2023.
           Appendices,tables, and figures shall be incorporated into one complete document and provided to
           USFS staff for review. All reports and data shall be provided to the permit administrator
           electronically.
       8.. All Annual Paired Basin Study and Hydrology Report comments from USFS shall be addressed in
           a comment matrix and delivered to the permit administrator no later thc:1n60 days following the
           date of receipt of USFS comments.

   103 NOTIFICATIONS TO USFS

       1.   The permit administrator shall be notified electronlcally bi-weekly of any actions and the
            reasons for such actions that significantly change extractions (increases or decreases} from
            any extraction location (e.g., shut ins, turn outs, down for maintenance, etc.).

   104 REGULATORY REQUIREMENTS

       1. The permiltee may be required to provide proof of compliance with other applicable federal and
          state agency permits, regulations, or policy, as a condition of this special use authorization.
       2. Unless prior arrangements have been made with the authorized officer or ttie permit
          administrator, no condition or circumstance shall prevent the permittee from meeting the
          conditions and reporting deadlines set forth above. Any such arrangements shall be recorded
          with the permit and reporting documents.
       3. The authorized officer may revoke or suspend this permit in whole or in part, without notice,
          if the terms and conditions set forth herein are not meL
       4. Failure ofthe USFS to enforce any part of the special use authorization shall rnno event be
          deemed a waiver of the right to do so thereafter.
       5. Any forbearance on the part of the USFS to notify the permittee or exercise its rights in the
          event of noncompliance shall not be deemed or construed to be a waiver of its authority or of
          its right to enforce compliance at any time




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                                                                                        28 February2019
   Adaptive Management Planfor Arrowhead Springs
   San BernardinoNational ForestSpecialUse Permit No. FCD728501
   Nestle Waters North America Inc. (Permitee)


   SCOPE

   Special Use Permit No. FCD728501 (SUP)was issued for use and occupancy of National Forest System
   Lands in the San Bernardino National Forest (SBNF)which includes operation of water conveyance
   infrastructure through the SBNF. Implementation of this Adaptive Management Plan (AMP) will identify
   whether incremental changes to the mitigation measures are necessary to reduce effects on National
   Forest resources.


   This final AMP serves as an implementation tool that incorporates an "implement-monitor-adapt"
   strategy that provides flexibility to respond to monitoring information that indicates that desired
   conditions are not being met. If monitoring demonstrates that the intended effects are not being
   achieved through the initial management action, the action can be modified using one or more of the
   adaptive management actions to achieve the intended effects. The AMP includes:
       1) Forest Plan objective (standard, requirement, handbook);
      2) Monitoring to assessif the objective is being met;
      3) Goal(s) where Forest Plan objective(s) is not being met;
      4) Action(s) to meet Forest Plan objective(s); and
      5) Monitoring to assesssuccess of mitigation and restoration.

  This final AMP, developed by the permittee in conjunction with the Forest Service, and approved by the
  authorized officer, will be active for the term of the permit, and may be amended based on the results
  of the paired basin studies described above.

  This final AMP is intended to meet SBNFland Management Plan (LMP) requirements and standards as
  part of the permit when issued. Permittee herein provides detailed information on implementation of
  the AMP, for approval by the Forest Service. As stated in the Decision Memo, this AMP will be
  implemented so long as monitoring indicates that the environmental effects of the adaptive
  management approach do not exceed the scope of those anticipated in the decision, and the actions
  serve to move the project toward the intended effects, implementation continues using the "implement
  monitor adapt" cycle without the need for new or supplemental National Environmental Policy Act
  review. If any changes are proposed that are outside the scope of this decision, the provision of the
  Forest Service Handbook 1909.15 Section 18 would apply.




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   Objective 1 - Water Standards
      1)    LMP, Part 3, S46: Surface water diversions and groundwater extractions, including wells and
            spring developments will only be authorized when it is demonstrated by the user, and/or
            agreed to by the Forest Service, that the water extracted is excessto the current and
            reasonably foreseeable future needs of forest resources.
      2)    Monitoring components
              a.   Determination of safe yield (water balance) in the sub-watershed containing the
                   extraction points:
                      i.    Inputs: Precipitation gaging, groundwater inflow, infiltration
                      ii.   Outputs: Evapotranspiration gaging, overland flow, surface water outflow,
                            groundwater outflow including extraction
                      iii. Build a gridded surface water-groundwater model and calibrate it with collected
                           data including structural geology (e.g. faults) components
                              1. Building and calibrating a fractured mountain-front hydrogeologic model
                                 is a longer-term goal given the lack of baseline data and the multiple
                                 parameters needed.
              b. Water quality testing to maintain compliance with Clean Water Act Basin Plan:
                      i.    475 milligrams per liter total dissolved solids.
              c.   Maintenance of surface water flow to support macroinvertebrate populations and
                   riparian vegetation.
              d. The 2002 and 2015 studies showed that the stream reach below Wells 10, 11, 12 was
                 dry and did not support macroinvertebrate populations. The goal is to reduce
                 extraction until the desired condition (riparian vegetation and macroinvertebrate
                 populations similar to the paired watershed) is achieved. Stream Condition data has yet
                 to be collected in stream reaches below Wells in complex 7 and below the cluster of
                 wells/springs 1, lA, 8, and the FSSpring, and tunnels 2 and 3.
             e. Provide drinking water for wildlife at two locations as specified in the Resource
                Mitigation Measures.
      3)    Goals:
               a. Flows as specified will be maintained in two (2) locations as follows:
                     i.     Lower spring complex (10, 11, 12) - 20 gallons per minute (gpm) in the drainage
                            area A tributary of Strawberry Creek immediately above the confluence of
                            drainage area A and Bas defined in URS2002. Drainage area A is the watershed
                            influenced by the water extraction.
                     ii.    Borehole complex 1, lA, and 8 - 6.25 gpm as measured at water right A6108.
             b. These flows are established as initial minimum flows. Permittee must manage
                extraction to maintain those minimum flows.
                     i.     Flows below the required minimum flows indicate that surface flow is trending
                            towards too dry and that there is no water in excessof the needs of forest
                            resources and therefore there is no water available for extraction.
                     ii.    As future data is collected these goals can change if monitoring shows the need
                            for adjustment.




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      4)    Actions:
               a.    In support of goals (a.i) or (a.ii), Permittee will conduct a study of hydrologic conditions
                    to determine appropriate actions to support the Objective or define alternative
                     measurement points, goals, and actions. The study will continue for the duration of
                    the 3-year permit and will include evaluation of the hydraulic connection between
                    diversion points and water flow at the identified goal location and conditions relevant
                    to achieving the goal. Specific testing methods and the locations are described in the
                    document titled Strawberry Canyon Hydrologic Data Collection Pion included as
                    Attachment A to this document. The study will include reduction and/or stopping
                    extraction at the closest diversion point to the measurement reach as described in
                    (i) through (iii) below, or other diversion points determined in consultation with SBNF,
                    or taking other actions to support the Objective. Initial actions include the following:
                     i.    Water right A6108 is in closest proximity to boreholes 1, lA, 8, which will need to
                           be shut-in, potentially seasonally, to provide for the 6.25 gpm.
                     ii.   The 20 gpm minimum requirement is hypothesized to be directly affected by
                           extraction at boreholes 10, 11, 12, and indirectly by tunnels 2, 3 and boreholes 7,
                           7A, 7B, 7C.
                     iii. As the hydrogeology becomes better understood (travel times,
                          groundwater/surface water connections), reduction of extraction from the
                          appropriate sources can be better identified.
              b.     If the initial actions do not achieve the stated metric criteria for the goal, or if no
                     measurable relationship is identified between the diversion and the stated metric
                     criteria, Permittee will consult with SBNFtechnical specialists to determine next steps
                     and to evaluate locations and methods to establish meaningful monitoring to address
                     hydrologic and biological concerns or take other approved actions to support the
                     Objective.
      5)   Monitoring:
              a. Monitor flow at least bimonthly to ensure minimum flow levels are met.
              b. Emphasizemore frequent monitoring intervals as flow levels approach the minimum
                 flow levels, or less if minimum levels are exceeded over a longer period, such as
                 winter/wet season conditions.
              c.    Monitor flows with recording hydrographs to capture diurnal fluctuation.
              d. Track groundwater recovery (i.e., pressure transducers, piezometers) between spring
                 locations and surface water drying location(s).
              e.    Measure travel time through the system.
              f.    Measure water quality parameters.
              g. Track groundwater recovery.




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   Objective 2 - Riparian Standards

        1)    LMP, Part 3, S47: When designing new projects in riparian areas, apply the Five-Step Project
             Screening Processfor Riparian Conservation Areas as described in Appendix E- Five-Step
              Project Screening Processfor Riparian Conservation Areas. Activities are designed to protect,
              maintain, or restore the riparian ecosystem. In the riparian conservation areas that include
             perennial and intermittent streams, lakes, and wetlands allow only those actions that
             maintain or improve long-term aquatic and riparian ecosystem health including quantity,
             quality, and timing of stream flows. As part of the analysis consider physical factors, such as
             soil characteristics, groundwater and surface water characteristics, geology and geologic
             hazards, slope, and stream characteristics; and biological factors, such as aquatic and riparian
             dependent species present, their habitat needs (see species guidance documents in Part 3,
             Appendix H), and the ability of the existing environment to provide needed habitat. [Strategy
             WAT 1 includes RCAlanguage and "Restore, maintain and improve watershed conditions over
             the long-term.")

      2)     Monitoring components - determine potential of riparian ecosystem for restoration purposes
               a. Conduct a paired watershed study to assessthe riparian health of control sites (where
                  no water extraction occurs) located East Twin Creek and other accessible, proximal, and
                  approved sub-watershed compared to the sub-watershed of Strawberry Creek where
                  the extraction points are located. Multiple paired study locations may be used to look
                  at different parts of the watershed. Actual locations will be determined following
                  discussions with the United States Forest Service (USFS)and will be described in the
                  Paired Basin Study Plan. The study will be designed to provide an objective, quantitative
                  assessment of the riparian and aquatic habitat health that can be compared over time at
                  all study reaches.
                     i.   Since the 2002 and 2015 studies noted that the creek was dry below the geologic
                          fault near Wells 10, 11, 12, set one monitoring location transect and channel
                          length in East Twin Creek based on elevation and lateral extent of geologic fault
                          structures (this could occur near the Hl bird survey area, Figure 7, Bio technical
                          report).
                    ii. Additional suitable comparison reach locations should coincide with elevation,
                          faulting, geomorphology, etc. for extraction locations 1, 2, 3, 7, 8 spring/well
                          groupings, where safely accessible.
                    iii. Use a modified stream condition inventory/proper functioning condition protocol
                         to gather geomorphology, plant physiology, extent of riparian vegetation
                         (including native mid to late seral stage), condition of the channel, stream
                         characteristics, flow, water quality, macroinvertebrate diversity, stream
                         hydrograph, precipitation, geologic structural controls on flow, etc.
                         Macroinvertebrate analysis will include the California Stream Condition Index
                         scoring system to obtain data that can be compared to each study site.
                    iv. Use standard forest inventory plot measurements to monitor condition of riparian
                        vegetation, including seral stage, shrub and tree density, distribution,
                        regeneration, mortality, species composition, cover, and other relevant variables.




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                      v.    Perform aerial photographic analysis of canopy, vegetation diversity, distribution,
                           and general riparian conditions including overall health at key riparian areas
                           within the study plots in Strawberry Creek and the control plot locations. The
                           photographic aerial imagery survey will be captured by drone, compiled into a
                           digital high-resolution aerial map and analyzed by high-resolution computer
                           applications. Each year, the plot location area imagery will be compared as part of
                           the Paired Basin Study to determine any patterns in changes that may be due to
                           an environmental response and/or water extraction.
                      vi. Determine improvement in habitat suitability from increased flow rate in drainage
                          by using protocol standards established for southwestern willow flycatcher, least
                          bell's vireo, California gnatcatcher, Santa Ana speckled dace, and mountain
                          yellow-legged frog in year 2 and year 4 (if the permit is reissued). If the permit is
                          reissued for year 5, conduct protocol presence surveys for the listed species to
                          determine any occupancy. Focused surveys will be conducted in accordance with
                          United States Fish and Wildlife Service approved survey protocols.
                      vii. Conduct comparison of upper reaches of East Twin Creek and other accessible,
                           proximal, and approved sub-watershed (control site) at same elevation points in
                           watershed as well sites/monitoring stretches in Strawberry Creek.
      3)    Goals:
             a. The magnitude, duration, and/or timing of annual extreme flows (low/base and/or high)
                do not significantly depart from the natural hydrograph measured at control sites.
                [Indicates an Impaired rating for Flow Characteristics under Watershed Condition
                Classification protocol.]
             b. Benthic macroinvertebrate (providing base of food chain to riparian dependent wildlife
                resources): diversity and abundance supported by base flows measured in EastTwin
                Creek watershed or other approved control sites are maintained at the minimum
                70 percent level by the 6.25 gpm and 20 gpm initial minimum flows in the diversion sub-
                watershed. [Indicates an Impaired rating for Life Form Presence under Watershed
                Condition Classification protocol.]
             c.    No more than 25 percent of diversion sub-watershed channel length has width-to-depth
                   ratios greater than the control sites. [Indicates an Impaired rating for Channel Shape
                   and Function under Watershed Condition Classification protocol.]
             d.    Native vegetation is vigorous, healthy and diverse in age, structure, cover and
                   composition on 75 percent or more of the riparian/wetland areas in the diversion
                   sub-watershed where extraction is taking place compared to the control sites.
                   [Indicates an Impaired rating for Riparian Vegetation under Watershed Condition
                   Classification protocol.]
     4)    Actions:
              a.     In support of goals (a through d), Permittee will conduct a study to determine the
                     appropriate actions to support the Objective and to characterize the relationship
                     between the diversion points and the stated goal metric criteria. The study will
                     continue for the duration of the 3-year permit and will include evaluation of riparian




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                    conditions relative to diversion points. The study will include reduction and/or
                    stopping extraction at the diversion point closest to measurement reach as set forth in
                    goals (a through d) above or other diversion points determined in consultation with
                    SBNFand may include other actions to support the Objective. Additional actions will
                    be defined in collaboration with SBNFtechnical specialists. The study will:
                          i.   Evaluate the connectedness magnitude, duration, and/or timing of base flow
                               relative to the goal conditions.
                          ii. Evaluate effect of diversions on benthic macroinvertebrate diversity and
                              abundance in Strawberry Canyon relative to control study sites.
                          iii. Evaluate effect of diversions on the rooting depth of the riparian dependent
                               vegetation, water availability to woody species and other vegetation during
                               periods of changed water flow such as shut-in and turn-out periods and may
                               incorporate other actions to support the stated Objective.
                          iv. Evaluate effect of diversions on vegetation conditions and will include
                              assessment of vigor, health and age diversity, structure, cover, and
                              composition relative to diversions as described by the Watershed Condition
                              Classification standards and may include other actions to support the
                              Objective.
      5)    Monitoring:
              a. Baseflow maintenance levels are to be maintained and measured in the low flow periods
                 until sufficient fall/winter rainfall raises the level to a non-base flow level based on gaging
                 in control watershed.
             b. Benthic macroinvertebrate diversity and abundance will be measured in Strawberry
                Creek and the control watershed control sites at the same time (same day or week).
                Data should be collected at strategic time intervals and locations with appropriate
                protocols, avoiding taking data immediately following scouring flows, and matching the
                substrate, spatial, and lateral components of the control watershed and focusing on
                riffles rather than runs or pools.
             c.   Shallow groundwater monitoring piezometers (with data loggers) set back from the
                  channel to either side within the riparian corridor to measure wetted depth for
                  supporting riparian vegetation.
             d.   Monitor riparian vegetation health across the lateral extent of the survey reaches using
                  vegetative health indicators, determined through consultation with Forest Service
                  specialists, until goal is reached. Track water needs to reach this level and maintain
                  reduced extraction levels seasonally to maintain this level of vegetative health.




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   Objective 3 - SpeciesStandards

       1)    LMP, Part 3, S11: When occupied or suitable habitat for a threatened, endangered, proposed,
             candidate or sensitive (TEPCS)species is present on an ongoing or proposed project site,
             consider species guidance documents (see Appendix H) to develop project-specific or
             activity-specific design criteria. This guidance is intended to provide a range of possible
             conservation measures that may be selectively applied during site-specific planning to avoid,
             minimize, or mitigate negative long-term effects on threatened, endangered, proposed,
             candidate, or sensitive species and habitat. Involve appropriate resource specialists in the
             identification of relevant design criteria and appropriate species lists. Include review of
             species guidance documents in fire suppression or other emergency actions when and to the
             extent practicable.

            LMP, Part 3, S24: Mitigate impacts of on-going uses and management activities on
            threatened, endangered, proposed, and candidate species.

      2)    Monitoring components - determine potential of micro-riparian habitats from untapped
            springs and meadows to be used as reference point for determining restoration potential in
            Strawberry Creek watershed
              a.   Investigate East Twin Creek and other accessible, proximal, and approved
                   sub-watershed to find untapped springs, and seeps both in upper areas (elevations
                   similar to diversions) and lower down (where increased groundwater pressure could be
                   maintaining these features).
                     i.   Document lateral/spatial extent of riparian vegetation and TEPCSplants and
                          wildlife on bi-yearly interval, years 2 and 4 of permit
                                 1. Conduct two focused plant surveys, during the targeted species
                                    blooming periods, in a methodical and organized manner to promote
                                    full coverage of the study areas. Surveys will be conducted during
                                    Year 2 and Year 4 to account for annual variations in precipitation.
                                 2.   Conduct protocol surveys established for southwestern willow
                                      flycatcher, least bell's vireo, California gnatcatcher, Santa Ana speckled
                                      dace, and mountain yellow-legged frog.
                    ii.   Document wildlife diversity and abundance on annual interval for amphibians,
                          reptiles, birds, and mammal species. This includes documentation of invasive
                          species as part of Objective 4 Invasive Species Standards.
                                1. Conduct diurnal and nocturnal amphibian and reptile daytime surveys.
                                2.    Conduct avian point counts to assessavian diversity and estimate
                                      population densities at the established sampling sites which consists of
                                      visual or vocal observations at the established locations.
                                3.    Conduct mammal tracking at the established sampling locations to
                                      determine what types of mammal species are present and potentially
                                      utilizing the area as a wildlife corridor. Utilize a motion sensitive digital
                                      wildlife camera at each study and control location, if feasible. Conduct
                                      acoustic monitoring to detect the presence of bats.




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                      iii. Measure rooting depth.
                      iv. Measure water availability to woody species.
                      v.   Measure sap flow.
                      vi. Measure groundwater levels.
                      vii. Conduct presence/absence surveys for special status wildlife and plant species
                           identified with habitat present; years 2 and 4 of permit.
                      viii. Identify spring discharge and surface water extent
                            1. Set movement cameras to document use of surface water by animals -
                               monitoring for 1 week in spring, summer and fall quarters.
              b. All types of monitoring in control watershed must be duplicated in diversion
                 sub-watershed.
      3)    Goals:
              a. From 70 percent or more of expected aquatic life forms and communities are present
                 relative to the presence observed at the control sites based on the potential found in
                 the EastTwin Creek watershed. [Indicates a Functioning at Risk rating for Life Form
                 Presence under Watershed Condition Classification protocol.}
             b. No less than 70 percent of expected aquatic life forms and communities are present
                relative to the presence observed at the control sites. [Indicates an Impaired rating for
                Life Form Presence under Watershed Condition Classification protocol.]
     4)    Actions:
              a. In conjunction with SBNFtechnical specialists, evaluate the occurrence of species,
                 abundance and diversity conditions and establish appropriate goal metric criteria, and
                 actions to meet species standards, or take other actions to support the Objective.
              b. Once the appropriate metric criteria have been defined through scientific study, take
                 appropriate actions in consultation with SBNFtechnical specialists to protect riparian
                 resources including native special status vegetation and provide for wildlife habitat
                 linkages.

     5) Monitor restoration of plant and animal communities on bi-annual basis.




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   Objective 4 - Invasive SpeciesStandards

       1)    LMP Part 1. Goal 2.1: Reversethe trend of increasing loss of natural resources due to invasive
             species. Forest Service Manual (FSM) direction for Invasive SpeciesManagement is contained
             in FSM 2900, effective S December 2011. This direction sets forth National Forest System
             policy, responsibilities, and direction for the prevention, detection, control, and restoration of
             effects from aquatic and terrestrial invasive species.

       2)    Monitoring components - identify, quantify, and map existing occurrences of priority invasive
             plant and animal species within the project area and document with GISpolygon shapefiles or
             GPScoordinates.
               a. The priority invasive plant and animal list is to be based on species that are included in
                  the Cal IPClist of species considered to be High and Medium threat to ecological
                  systems and are not already ubiquitous throughout both the project area and the paired
                  watershed of EastTwin Creek. This list will be compiled in consultation with USFS
                  botany and wildlife specialists.
              b. Map invasive weed species within the pipeline right-of-way, helicopter landing areas,
                 spring sites, study areas, and access routes. Prepare weed occurrence forms per species
                 and provide GPScoordinates for points and polygons of mapped weeds.
       3)   Goals:
              a. Cover, quantity, or extent of current infestations are not increasing.
              b. No new invasive species are identified.
       4)   Actions:
              a. Prepare a Weed Management Plan, in cooperation with the Forest Service for survey,
                 prevention, reporting, controlling, and monitoring invasive plants and otherwise
                 non-native weed species found within the control and study areas. Strategies to
                 prevent, detect, and control those species will be discussedwith the USFS. Hand-pulling
                 and hand tools (e.g., shovels, pulaskis, line trimmers) will be used to remove invasive
                 weed species as identified in the Weed Control Plan, included as Attachment B to this
                 document. No use of herbicides is planned or authorized.
              b. Consult with USFSbotany and biology specialists to determine the most effective
                 control/eradication methods allowed by agency policy and direction.
              c.   Initiate control as soon as possible within the time period for most effective treatment.
              d.   Remove biomass containing reproductive potential (root segments, seeds, or flowers
                   that could develop into viable seed) from project site and forest service land.
              e. Provide yearly report of monitoring and control efforts including names of
                 workers/surveyors, date, method of control, and location.

      5)    Monitor and re-treat when necessaryto control or eradicate identified invasive plant and
            animal infestations.




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   Enclosures:
            Attachment A - Strawberry Canyon Hydrologic Data Collection Plan
            Attachment B - Weed Control Plan




   This Adaptive Management Plan is:


   APPROVED BY:



   Joseph Rechsteiner
   District Ranger
   San Bernardino National Forest




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